                                           UNITED STATES BANKRUPTCY COURT
                                           MIDDLE DISTRICT OF PENNSYLVANIA

              In re: KOOP, THOMAS J.                                                            § Case No. 5:15-02915-JJT
                                                                                                §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on July 10, 2015. The undersigned trustee was appointed on July 10, 2015.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $                12,935.70

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                                 0.00
                                    Administrative expenses                                               10.90
                                    Bank service fees                                                    461.67
                                    Other payments to creditors                                            0.00
                                    Non-estate funds paid to 3rd Parties                                   0.00
                                    Exemptions paid to the debtor                                          0.00
                                    Other payments to the debtor                                           0.00
                             Leaving a balance on hand of 1                         $                12,463.13
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

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               6. The deadline for filing non-governmental claims in this case was 01/24/2016
       and the deadline for filing governmental claims was 01/06/2016. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $2,043.57. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $2,043.57, for a total compensation of $2,043.57. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $109.49, for total expenses of
               2
       $109.49.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 11/14/2018                    By: /s/MARK J. CONWAY, CHAPTER 7 TRUSTEE
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

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                                                                                    Form 1                                                                            Page: 1

                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 5:15-02915-JJT                                                                 Trustee:       (580480)      MARK J. CONWAY, CHAPTER 7 TRUSTEE
Case Name:         KOOP, THOMAS J.                                                          Filed (f) or Converted (c): 07/10/15 (f)
                                                                                            §341(a) Meeting Date:        08/07/15
Period Ending: 11/14/18                                                                     Claims Bar Date:             01/24/16

                                  1                                        2                           3                      4              5                   6

                     Asset Description                                Petition/               Estimated Net Value         Property      Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                  Unscheduled          (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                                       Values               Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                                          and Other Costs)                                         Remaining Assets

 1        12 Fork Mountain, Equinunk PA-Joint w/girlfriend              174,900.00                           0.00                                 0.00                    FA
           Amended 9/19/18 - Dkt. No. 31

 2        Cash on hand                                                           35.00                       0.00                                 0.00                    FA
           Imported from original petition Doc# 1

 3        Checking account at the Dime Bank                                     544.00                       0.00                                 0.00                    FA
           Imported from original petition Doc# 1

 4        Checking account with fiance at The Dime Bank                           5.89                       0.00                                 0.00                    FA
           Imported from original petition Doc# 1

 5        1/2 Furnishings for residence                                    1,500.00                          0.00                                 0.00                    FA
           Imported from original petition Doc# 1

 6        Clothing for debtor                                                   500.00                       0.00                                 0.00                    FA
           Imported from original petition Doc# 1

 7        Two watches                                                           100.00                       0.00                                 0.00                    FA
           Imported from original petition Doc# 1

 8        3 pistols/5 shotguns/rifles                                           250.00                       0.00                                 0.00                    FA
           Imported from original petition Doc# 1

 9        Debtor's 1/5 interest in estate of Vivian C. Ehr                19,000.00                     11,800.00                            12,935.70                    FA
           Imported from original petition Doc# 1

10        2010 Ford F150 pickup, 86k miles, fair condition                11,156.00                          0.00                                 0.00                    FA
           Imported from original petition Doc# 1

11        2003 Chevrolet Tracker, 150k miles, fair conditi                 1,000.00                          0.00                                 0.00                    FA
           Imported from original petition Doc# 1

12        2006 Yamaha, 4-wheeler, used                                     1,000.00                          0.00                                 0.00                    FA
           Imported from original petition Doc# 1

 12      Assets       Totals (Excluding unknown values)                $209,990.89                     $11,800.00                           $12,935.70                 $0.00



      Major Activities Affecting Case Closing:

                  8/21/15 - Order issued apptg. MJC as counsel
                  10/23/15 - Bar Date set (1/24/16)
                  8/24/16 - Payment rec'd on Debtor's inheritance (Asset #9).
                  9/13/16 - Exemption paid to Debtor.
                  1/24/16 - Bar date expired.



                                                                                                                                       Printed: 11/14/2018 01:48 PM   V.13.32
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                                                                         Form 1                                                                                 Page: 2

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 5:15-02915-JJT                                                    Trustee:       (580480)      MARK J. CONWAY, CHAPTER 7 TRUSTEE
Case Name:       KOOP, THOMAS J.                                               Filed (f) or Converted (c): 07/10/15 (f)
                                                                               §341(a) Meeting Date:        08/07/15
Period Ending: 11/14/18                                                        Claims Bar Date:             01/24/16

                              1                                     2                     3                       4                    5                   6

                    Asset Description                           Petition/        Estimated Net Value          Property            Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled   (Value Determined By Trustee,    Abandoned            Received by      Administered (FA)/
                                                                 Values        Less Liens, Exemptions,       OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                             and Other Costs)                                                Remaining Assets

                10/28/16 & 9/25/17 - Requested Court Costs.


                TFR TO BE FILED.


                9/28/18 - TFR SUBMITTED TO UST FOR REVIEW.


     Initial Projected Date Of Final Report (TFR):   December 31, 2016           Current Projected Date Of Final Report (TFR):       September 28, 2018 (Actual)




                                                                                                                                 Printed: 11/14/2018 01:48 PM   V.13.32
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                                                  Cash Receipts And Disbursements Record
Case Number:         5:15-02915-JJT                                                           Trustee:            MARK J. CONWAY, CHAPTER 7 TRUSTEE (580480)
Case Name:           KOOP, THOMAS J.                                                          Bank Name:          Rabobank, N.A.
                                                                                              Account:            ******9166 - Checking Account
Taxpayer ID #:       **-***5589                                                               Blanket Bond:       $8,132,694.00 (per case limit)
Period Ending: 11/14/18                                                                       Separate Bond: N/A

   1             2                          3                                  4                                              5                    6                   7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements             Checking
  Date      Check #           Paid To / Received From            Description of Transaction              T-Code              $                  $                Account Balance
08/24/16       {9}         VIVIAN C. EHRMANN ESTATE       FINAL DISTRIBUTION FROM THE ESTATE             1129-000             20,135.70                                 20,135.70
                                                          OF VIVAN C. EHRMANN ESTATE
08/31/16                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        10.00          20,125.70
09/13/16     101 {9}       Thomas J. Koop                 PAYMENT IN FULL OF DEBTOR'S CLAIMED            1129-000             -7,200.00                                 12,925.70
                                                          EXEMPTION ON INHERITANCE FROM
                                                          EHRMANN ESTATE
09/30/16                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        26.11          12,899.59
10/31/16                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        17.88          12,881.71
11/30/16                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        19.71          12,862.00
12/29/16       102         INTERNATIONAL SURETIES, LTD.   BOND PREMIUM PAYMENT ON LEDGER                 2300-000                                         5.03          12,856.97
                                                          BALANCE AS OF 12/29/2016 FOR CASE
                                                          #5-15-02915-JT, 2017 TRUSTEE BOND
                                                          PREMIUM
12/30/16                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        18.44          12,838.53
01/31/17                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        19.69          12,818.84
02/28/17                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        17.20          12,801.64
03/31/17                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        19.02          12,782.62
04/28/17                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        17.15          12,765.47
05/31/17                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        20.19          12,745.28
06/30/17                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        18.33          12,726.95
07/31/17                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        17.69          12,709.26
08/31/17                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        20.10          12,689.16
09/29/17                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        17.64          12,671.52
10/31/17                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        19.44          12,652.08
11/30/17                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        18.19          12,633.89
12/27/17       103         INTERNATIONAL SURETIES, LTD.   BOND PREMIUM PAYMENT ON LEDGER                 2300-000                                         5.87          12,628.02
                                                          BALANCE AS OF 12/27/2017 FOR CASE
                                                          #5-15-02915-JT, 2018 Trustee Bond Premium
12/29/17                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        17.56          12,610.46
01/31/18                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        19.95          12,590.51
02/28/18                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        16.90          12,573.61
03/30/18                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        18.08          12,555.53
04/30/18                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        17.45          12,538.08
05/31/18                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        19.83          12,518.25
06/29/18                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        17.40          12,500.85
07/31/18                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        19.17          12,481.68
08/31/18                   Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                        18.55          12,463.13


                                                                                              Subtotals :                   $12,935.70                 $472.57
{} Asset reference(s)                                                                                                                  Printed: 11/14/2018 01:48 PM        V.13.32
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                                                  Cash Receipts And Disbursements Record
Case Number:         5:15-02915-JJT                                                    Trustee:              MARK J. CONWAY, CHAPTER 7 TRUSTEE (580480)
Case Name:           KOOP, THOMAS J.                                                   Bank Name:            Rabobank, N.A.
                                                                                       Account:              ******9166 - Checking Account
Taxpayer ID #:       **-***5589                                                        Blanket Bond:         $8,132,694.00 (per case limit)
Period Ending: 11/14/18                                                                Separate Bond: N/A

   1             2                         3                            4                                                5                    6                   7

 Trans.     {Ref #} /                                                                                                Receipts        Disbursements             Checking
  Date      Check #           Paid To / Received From     Description of Transaction                T-Code              $                  $                Account Balance

                                                                      ACCOUNT TOTALS                                     12,935.70                 472.57        $12,463.13
                                                                             Less: Bank Transfers                             0.00                   0.00
                                                                      Subtotal                                           12,935.70                 472.57
                                                                             Less: Payments to Debtors                                               0.00
                                                                      NET Receipts / Disbursements                     $12,935.70                 $472.57



                                                                                                                           Net             Net                     Account
                                                                      TOTAL - ALL ACCOUNTS                               Receipts     Disbursements                Balances

                                                                      Checking # ******9166                              12,935.70                 472.57          12,463.13

                                                                                                                       $12,935.70                 $472.57        $12,463.13




{} Asset reference(s)                                                                                                             Printed: 11/14/2018 01:48 PM        V.13.32
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                                              Court Claims Register
                                   Case: 5:15-02915-JJT             KOOP, THOMAS J.
                                                                                            Claims Bar Date:   01/24/16
 Claim   Claimant Name /                      Claim Type/    Claim Ref./   Amount Filed/       Paid             Claim
Number   <Category>, Priority                 Date Filed     Notes             Allowed        to Date          Balance
         MARK J. CONWAY, CHAPTER 7            Admin Ch. 7                       $2,043.57        $0.00          $2,043.57
         TRUSTEE                               07/10/15                         $2,043.57
         502 SOUTH BLAKELY STREET
         DUNMORE, PA 18512
         <2100-00 Trustee Compensation>, 200
         MARK J. CONWAY, CHAPTER 7            Admin Ch. 7                        $109.49         $0.00           $109.49
         TRUSTEE                               07/10/15                          $109.49
         502 SOUTH BLAKELY STREET
         DUNMORE, PA 18512
         <2200-00 Trustee Expenses>, 200
         MARK J. CONWAY, ESQUIRE              Admin Ch. 7                       $1,101.00        $0.00          $1,101.00
         502 SOUTH BLAKELY STREET              07/10/15                         $1,101.00
         DUNMORE, PA 18512
         <3110-00 Attorney for Trustee Fees (Trustee Firm)>, 200
         MARK J. CONWAY, ESQUIRE              Admin Ch. 7                         $62.28         $0.00            $62.28
         502 SOUTH BLAKELY STREET              07/10/15                           $62.28
         DUNMORE, PA 18512
         <3120-00 Attorney for Trustee Expenses (Trustee Firm)>, 200
 1       Cavalry SPV I, LLC                   Unsecured                          $725.00         $0.00           $725.00
         500 Summit Lake Drive, Ste 400        10/27/15                          $725.00
         Valhalla, NY 10595
         <7100-00 General Unsecured § 726(a)(2)>, 610
 2       PYOD, LLC its successors and assigns Unsecured                        $31,063.29        $0.00         $31,063.29
         as assignee                           10/30/15                        $31,063.29
         of Citibank, N.A.
         Resurgent Capital Services,PO Box 19008
         Greenville, SC 29602
         <7100-00 General Unsecured § 726(a)(2)>, 610
 3       US DEPT OF EDUCATION                 Unsecured                        $70,278.52        $0.00         $70,278.52
         CLAIMS FILING UNIT                    12/09/15                        $70,278.52
         PO BOX 8973
         MADISON, WI 53708-8973
         <7100-00 General Unsecured § 726(a)(2)>, 610
 4       FIRST NATIONAL BANK OF OMAHA         Unsecured                        $15,558.24        $0.00         $15,558.24
         Brumbaugh and Quandahl, P.C.          12/17/15                        $15,558.24
         4885 South 118th Street, Suite 100
         OMAHA, NE 68137
         <7100-00 General Unsecured § 726(a)(2)>, 610




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                                           Court Claims Register
                                 Case: 5:15-02915-JJT            KOOP, THOMAS J.
                                                                                         Claims Bar Date:    01/24/16
 Claim   Claimant Name /                    Claim Type/   Claim Ref./   Amount Filed/       Paid              Claim
Number   <Category>, Priority               Date Filed    Notes             Allowed        to Date           Balance
 5       KeyBank N.A.                       Unsecured                       $19,274.29        $0.00          $19,274.29
         4910 Tiedeman Road                  01/23/16                       $19,274.29
         Brooklyn, OH 44144
         <7100-00 General Unsecured § 726(a)(2)>, 610
 6       KeyBank N.A.                       Unsecured                       $20,858.44        $0.00          $20,858.44
         4910 Tiedeman Road                  01/23/16                       $20,858.44
         Brooklyn, OH 44144
         <7100-00 General Unsecured § 726(a)(2)>, 610
 7       KeyBank N.A.                       Unsecured                       $14,131.13        $0.00          $14,131.13
         4910 Tiedeman Road                  01/23/16                       $14,131.13
         Brooklyn, OH 44144
         <7100-00 General Unsecured § 726(a)(2)>, 610
 8       KeyBank N.A.                       Unsecured                       $15,245.52        $0.00          $15,245.52
         4910 Tiedeman Road                  01/23/16                       $15,245.52
         Brooklyn, OH 44144
         <7100-00 General Unsecured § 726(a)(2)>, 610

                                                                         Case Total:         $0.00          $190,450.77




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                                TRUSTEE'S PROPOSED DISTRIBUTION                                        Exhibit D

           Case No.: 5:15-02915-JJT
           Case Name: KOOP, THOMAS J.
           Trustee Name: MARK J. CONWAY, CHAPTER 7 TRUSTEE
                                              Balance on hand:                          $          12,463.13
            Claims of secured creditors will be paid as follows:

Claim       Claimant                              Claim Allowed Amount Interim Payments               Proposed
No.                                             Asserted       of Claim          to Date              Payment
                                                    None
                                              Total to be paid to secured creditors:    $               0.00
                                              Remaining balance:                        $          12,463.13

            Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                           Total Requested Interim Payments        Proposed
                                                                                     to Date       Payment
Trustee, Fees - MARK J. CONWAY, CHAPTER 7                          2,043.57                 0.00        2,043.57
TRUSTEE
Trustee, Expenses - MARK J. CONWAY, CHAPTER 7                        109.49                 0.00          109.49
TRUSTEE
Attorney for Trustee, Fees - MARK J. CONWAY,                       1,101.00                 0.00        1,101.00
ESQUIRE
Attorney for Trustee, Expenses - MARK J. CONWAY,                       62.28                0.00           62.28
ESQUIRE
                          Total to be paid for chapter 7 administration expenses:       $             3,316.34
                          Remaining balance:                                            $             9,146.79

            Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                           Total Requested Interim Payments        Proposed
                                                                                     to Date       Payment
                                                    None
                          Total to be paid for prior chapter administrative expenses:   $                 0.00
                          Remaining balance:                                            $             9,146.79




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             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                        None
                                                 Total to be paid for priority claims:      $                0.00
                                                 Remaining balance:                         $            9,146.79
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 187,134.43 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 4.9 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  1            Cavalry SPV I, LLC                                        725.00                 0.00          35.44
  2            PYOD, LLC its successors and assigns as                31,063.29                 0.00       1,518.32
               assignee
  3            US DEPT OF EDUCATION                                   70,278.52                 0.00       3,435.09
  4            FIRST NATIONAL BANK OF OMAHA                           15,558.24                 0.00         760.46
  5            KeyBank N.A.                                           19,274.29                 0.00         942.09
  6            KeyBank N.A.                                           20,858.44                 0.00       1,019.52
  7            KeyBank N.A.                                           14,131.13                 0.00         690.70
  8            KeyBank N.A.                                           15,245.52                 0.00         745.17
                             Total to be paid for timely general unsecured claims:          $            9,146.79
                             Remaining balance:                                             $                0.00




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            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                      None
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                       None
                                                Total to be paid for subordinated claims: $                  0.00
                                                Remaining balance:                        $                  0.00




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